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Lauren Scarpa
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Vineland, NJ 08360
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856-701-1694

June 28, 2024

Dear Honorable Chief Judge James E. Boasberg,

I am writing to you regarding Gregory Yetman, who is appearing before your court due to his
presence on Jan. 6th at the State Capital. I have known Mr. Yetman for 15 years, and in my
capacity as his friend, I have had the opportunity to observe his character and behavior over this
period.

In my experiences with Mr. Yetman, he has always been kind, honest, and empathetic. We met
while he was serving this country and remained in contact during his deployments, where I sent
care packages to him and his fellow soldiers. He was grateful and told me so many times.
Through the years we remained friends, keeping up with each other through social media and
text messages, often connecting about snowboarding and vacations we went on.

I spent time with Mr. Yetman last summer. In July of 2023 he joined me on a road trip to Virginia
Beach to attend a comedy show. During that trip, I witnessed Mr. Yetman’s uncanny ability to
connect with people, offering help or guidance to strangers we happened to meet. One of those
individuals was like Mr. Yetman, a fellow veteran. He and this individual spent much of the
evening talking about their service and Mr. Yetman provided the individual with guidance on
veteran’s benefits, resources, and services available to him that he was unaware of at the time.
It was a little thing, but it’s the little things that can have the most impact.

After that trip, Mr. Yetman and I saw each other again the following month, this time going to
Atlantic City to see another comedy show. Beforehand, we met up with another friend of his
named Katie and her husband who were also attending the show. Katie was on crutches so
when this came to Mr. Yetman’s attention, her comfort and mobility became his concern.
Throughout the night, he aided her husband in ensuring Katie was safe, especially where stairs
and escalators became an obstacle. He also told me he checked in on them later that night to
make sure they made it home ok.

This is who Gregory Yetman is... a man of integrity who put the needs of others before his own.
He’s considerate, responsible and respectful, I’ve always felt safe in his presence. He’s a strong
family man, especially close with this mother and brothers.

I understand the importance of upholding the law, however, I firmly believe that Gregory Yetman
is a person of good moral character who is committed to making positive changes in his life.

I respectfully ask that you consider his character and the information provided when making
your decision. Thank you for taking the time to read this letter.

Sincerely,
Lauren Scarpa
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Dear Judge,

       My name is Ma hew Yetman and I’ve known Gregory Yetman my en re life. Gregory
Yetman played a huge role in my childhood as to why I turned out the way I did. I did not have a
whole lot of guidance as a child but Gregory pointed me in the right direc on by leading by
example.
       When Gregory Joined the Army na onal Guard, he was sure to tell me all about it and
even coached me on how to get in. During this me, I was just a punk kid with no future.
Gregory took me to the recruiter’s oﬃce and helped me get everything I needed to get into the
Army na onal guard from the age of 17 I ﬁnally got in because Gregory was selﬂess enough to
take the me to ensure I would not turn out a bum.

        I ended up entering the Guard and moving to ac ve duty Army from 2008 -2016 thanks
to Gregory I was able to secure myself all the necessary skills I needed for a successful future.
Upon exi ng the military in 2016 I was basically homeless and lived in a Van. Gregory again
came to the rescue and gave me work plowing snow and he even bought me food and a heater
for the winter telling me there was no need to pay it back. His ac ons assisted me in
reintegra ng into society.

         Gregory and I would talk when we had the chance and he showed me how to u lize the
GI bill and pushed me to take advantage of all the veterans beneﬁts that I had no idea how to
u lize, walking me through every step. I then enrolled myself into college. Gregory was
somewhat of an idle in my eyes I looked up to him in allot of ways and one day he talked about
being a cop. Me wan ng to make my family proud and wan ng to con nue my service to this
country then pursued that dream. It was almost like a compe on with Gregory and I on who
could get further.

        Gregory secured a job in what I believe was security in the state of Virginia, making me
realize that New Jersey was not the only place to call home. This prompted me to search for a
law enforcement career out of state, at which point I secured my posi on in the Mineral area
Police academy in the state of Missouri. Gregory was sure to visit and congratulate me and tell
me how proud he was of me. Upon gradua ng and becoming a police oﬃcer Gregory made it a
point to visit whenever he could.

        During my Law enforcement career, I endured moments and experiences that were
disturbing to me and Gregory would always answer the phone when I needed someone to talk
to. Gregory was even so kind as to take his last week of vaca on to drive all the way to Missouri
to help my family and I ﬁx our home. In 110 degree heat Gregory worked outside in front of my
house to install a retaining wall with me as well as run a skid steer to grade out the washed out
front of my home.

        Gregory is unques onable one of the most selﬂess people I’ve ever me and I can
honestly say that I would not be where I am today if he was not a part of my life. Gregory like
the rest of us is only human and makes mistakes just as we all do. Please do not deﬁne


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Gregory’s character on the ac ons of one day rather pass judgement on him for the life me of
good he’s provided to not only me but the American people in which he sacriﬁced so selﬂessly.

       Respec ully submi ed

       M.Yetman




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